Case 2:22-cv-07450-MWF-MAR          Document 99 Filed 02/27/24                   Page 1 of 16 Page ID
                                          #:2362
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                               Date: February 27, 2024
 Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

 Present: The Honorable: MARGO A. ROCCONI, UNITED STATES MAGISTRATE JUDGE
                  Valerie Velasco                                             N/A
                   Deputy Clerk                                     Court Reporter / Recorder

           Attorneys Present for Plaintiff:                   Attorneys Present for Defendants:
                       N/A                                                  N/A
 Proceedings: (In Chambers) ORDER RE: MOTION TO COMPEL, DKT. 96
                                              I.
                                         BACKGROUND:

        On October 13, 2022, Plaintiff Alexander Torres (“Plaintiff”) filed the instant
 42 U.S.C. § 1983 (“section 1983”) action against Los Angeles County Sheriff’s
 Department (“LASD”), County of Los Angeles (“County”), and Defendant officers
 (collectively, “Defendants”). ECF Docket No. (“Dkt.”) 1 (“Compl.”). Plaintiff seeks
 redress for injuries suffered by Plaintiff as a result of his wrongful conviction for
 murder. Id. Notably, Plaintiff alleges that the Defendant officers manufactured
 evidence and suppressed exculpatory evidence acting pursuant to the County and
 LASD’s unconstitutional policies and practices, “including their failures to discipline
 and supervise officer misconduct, their allowance of evidence suppression and
 fabrication, their encouragement of officers to secure convictions at the expense of
 residents’ constitutional rights, and their tolerance of self-organized gangs of deputies
 engaged in illegal acts.” Compl. ¶ 5.
         On February 14, 2024, Plaintiff filed the instant Motion to Compel, which is
 before the Court on the parties’ Joint Stipulation (“JS”). Dkt. 96. The parties are at
 an impasse regarding whether Defendants must produce further documents related
 the 2001 investigation of the murder underlying Plaintiff’s conviction and documents
 related to the 2021 reinvestigation, which was undertaken after Plaintiff’s conviction
 was overturned and which Defendants allege is still ongoing. JS at 6–19. Plaintiff
 also requests sanctions for Defendants alleged withholding of relevant documents.
 Id. at 19–27.
       The Court finds these matters suitable for resolution without oral
 argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. Accordingly, the March 6, 2024
 hearing is VACATED and the request to appear remotely, Dkt. 97, is DENIED as


 CV-90 (03/15)                            Civil Minutes – General                               Page 1 of 16
Case 2:22-cv-07450-MWF-MAR        Document 99 Filed 02/27/24             Page 2 of 16 Page ID
                                        #:2363
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                     Date: February 27, 2024
 Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

 moot. For the reasons discussed below, the motion to compel GRANTED, and the
 motion for sanctions is GRANTED in part, and DENIED in part.

                                        II.
                                 GENERAL STANDARD

          Generally, under the Federal Rules of Civil Procedure,

          Parties may obtain discovery regarding any nonprivileged matter that is
          relevant to any party’s claim or defense and proportional to the needs of
          the case, considering the importance of the issues at stake in the action,
          the amount in controversy, the parties’ relative access to relevant
          information, the parties’ resources, the importance of the discovery in
          resolving the issues, and whether the burden or expense of the proposed
          discovery outweighs its likely benefit. Information within this scope of
          discovery need not be admissible in evidence to be discoverable.

 Fed. R. Civ. P. 26(b)(1). Relevancy is broadly defined to encompass any matter that
 bears on, or that reasonably could lead to other matters that could bear on, any issue
 that is or may be in the case. Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351
 (1978). However, a court “must limit the frequency or extent of discovery otherwise
 allowed” if “(i) the discovery sought is unreasonably cumulative or duplicative, or can
 be obtained from some other source that is more convenient, less burdensome, or less
 expensive; (ii) the party seeking discovery has had ample opportunity to obtain the
 information by discovery in the action; or (iii) the proposed discovery is outside the
 scope permitted by Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C).
        “A party seeking discovery may move for an order compelling an answer, ...
 production, or inspection.” Fed. R. Civ. P. 37(a)(3)(B)(iii), (iv). “[A]n evasive or
 incomplete disclosure, answer, or response must be treated as a failure to disclose,
 answer or respond.” Fed. R. Civ. P. 37(a)(4). “In moving to compel the production
 of documents, the moving party bears the burden of demonstrating ‘actual and
 substantial prejudice’ from the denial of discovery.” Grossman v. Dirs. Guild of Am.,
 Inc., No. EDCV 16-1840-GW (SPx), 2018 WL 5914242, at *4 (C.D. Cal. Aug. 22,
 2018) (citing Hallett v. Morgan, 296 F.3d 732, 751 (9th Cir. 2002)). In other words,


 CV-90 (03/15)                        Civil Minutes – General                      Page 2 of 16
Case 2:22-cv-07450-MWF-MAR          Document 99 Filed 02/27/24             Page 3 of 16 Page ID
                                          #:2364
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                       Date: February 27, 2024
 Title:        Alexander Torres v. Los Angeles Sheriffs Department et al

 the moving party bears the burden of demonstrating the sought discovery is
 relevant. Cabrales v. Aerotek, Inc., No. EDCV 17-1531-JGB-KKX, 2018 WL
 2121829, at *3 (C.D. Cal. May 8, 2018).

         In addition, “[r]elevancy alone is no longer sufficient to obtain discovery, the
 discovery requested must also be proportional to the needs of the case.” Centeno v.
 City of Fresno, No. 1:16-CV-653 DAD (SAB), 2016 WL 7491634, at *4 (E.D. Cal.
 Dec. 29, 2016) (citing In re Bard IVC Filters Prod. Liab. Litig., 317 F.R.D. 562, 564
 (D. Ariz. 2016)). However, ultimately, “[i]t has long been settled in this circuit that
 the party resisting discovery bears the burden of showing why discovery should not
 be allowed.” United States ex rel. Poehling v. UnitedHealth Grp., Inc., No. CV 16-
 8697 MWF (SSX), 2018 WL 8459926, at *9 (C.D. Cal. Dec. 14, 2018)
 (citing Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975) (“The party
 who resists discovery has the burden to show discovery should not be allowed, and
 has the burden of clarifying, explaining, and supporting its objections.”)).

                                             III.
                                         DISCUSSION

 A.       DOCUMENTS RELATED TO 2021 REINVESTIGATION

          1.      Additional background

       This dispute centers around Defendants’ responses to Request for Production
 (“RFP”) Nos. 2, 3, 4, 8,10, and 16, which essentially seek all documents related to the
 “Guitron Homicide Investigation,” which Plaintiff defined in their RFP as:

          any actions taken by any Investigator in order to determine the cause or
          circumstances of and/or the person or persons responsible for the
          incident that resulted in the killing of Martin Guitron. This includes but
          is not limited to the police investigative materials maintained by the
          County Defendants. This term is not limited solely to those actions
          leading to the prosecution of Plaintiff, but includes actions taken with
          regard to any other possible witnesses or suspects. In addition, this term
          is not limited solely to actions taken prior to the arrest of Plaintiff


 CV-90 (03/15)                          Civil Minutes – General                      Page 3 of 16
Case 2:22-cv-07450-MWF-MAR        Document 99 Filed 02/27/24             Page 4 of 16 Page ID
                                        #:2365
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                     Date: February 27, 2024
 Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

          but includes as well actions undertaken both before and after the
          arrest of Plaintiff, including any actions during any of Plaintiff’s
          criminal trial or appeal and any actions undertaken at any time after
          Plaintiff’s exoneration, up to and including the present day,
          including any reinvestigations.

 JS at 6–7 (emphasis added). Defendants responded with largely boilerplate objections
 that the requests were overbroad, cumulative, vague, ambiguous, invasive of attorney-
 client privilege, and violative of privacy rights. JS, Ex. 2, RFP Responses, Dkt. 96-2 at
 5–10, 12. “Without waiving these objections,” Defendants pointed to Exhibits A
 through D in the County’s production and noted that discovery was ongoing and
 continuing. Id.

        Plaintiff’s RFPs were originally served over a year ago, on December 23, 2022.
 JS, Ex. 12, RFPs, Dkt. 96-12. Defendants responded initially on February 27, 2022.
 JS, Ex. 2, RFP Responses, Dkt. 96-2 at 32. Yet, Defendants appear to admit that the
 investigation file from the original investigation (“2001 investigation file”) was not
 produced to Plaintiff until six months later in June 2023, after Plaintiff insisted on an
 inspection of the files that led to his conviction; it was only then, at the inspection,
 that Plaintiff discovered the existence of the 2001 investigation file. JS at 16; JS, Ex.
 18, Declaration of Marina Samson (“Samson Decl.”), Dkt. 96-18, ¶ 6. After the
 inspection, Plaintiff wrote a letter asking Defendants to identify and confirm that they
 had produced all other documents from the investigation. JS, Ex. 3, June 3, 2023
 Letter, Dkt. 96-3 at 6–7 (“Plaintiff asks that Defendants identify whether there are any
 other materials relating to the investigation into Martin Guitron’s murder that have
 not yet been produced.”).

        Both before and after this inspection, Plaintiff had maintained that he was also
 entitled to the production of any documents related to the reinvestigation of the
 Guitron murder after Plaintiff’s conviction was overturned. See, e.g., JS, Ex. 4, May
 25, 2023 Letter, Dkt. 96-4 at 5 (asserting that “[a]ny documents from [the Guitron
 Murder] Reinvestigation are relevant to Plaintiff’s claims and discovery requests and
 should be produced,” and noting that Defendants had not asserted privilege over any
 such documents). After the inspection, Defendants maintained that the documents
 from the reinvestigation were privileged; however, Defendants agreed to first make an


 CV-90 (03/15)                        Civil Minutes – General                      Page 4 of 16
Case 2:22-cv-07450-MWF-MAR          Document 99 Filed 02/27/24             Page 5 of 16 Page ID
                                          #:2366
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                       Date: February 27, 2024
 Title:        Alexander Torres v. Los Angeles Sheriffs Department et al

 inquiry and identify the documents. JS, Ex. 5, June 6, 2023 Letter, Dkt. 96-5 at 6.
 Plaintiff reiterated that Defendants should identify all allegedly privileged documents
 and provide a privilege log. JS, Ex. 6, June 29, 2023 Letter, Dkt. 96-6 at 3.

        In November 2023, despite previously agreeing to make an inquiry into the
 documents related to the reinvestigation of the Guitron murder, Defendants insisted
 that they would provide no information regarding the “open investigation,” though
 Detective Landreth would answer questions about his reinvestigation at his
 deposition. JS, Ex. 7, November 14, 2023 email, Dkt. 96-7. Plaintiff again asked that
 Defendants produce all responsive documents and a privilege log for any that were
 withheld. JS, Ex. 8, December 1, 2023 Letter, Dkt. 96-7 at 3–4. In response,
 Defendants again agreed to produce records regarding the reinvestigation and did not
 indicate any intent to stand on privilege or provide a privilege log. JS, Ex. 9,
 December 11, 2023 Letter, Dkt. 96-9 at 1 (“Defendants will produce records from the
 Reinvestigation by December 15, 2023.”). Defendants apparently did not identify or
 produce any documents.

        On January 23, 2024, Plaintiff deposed Detective Matthew Landreth, who
 conducted the reinvestigation into Guitron’s murder; at the deposition, Landreth
 revealed that he possessed many documents that had never been identified or
 produced to Plaintiff, including documents related to the original 2001 investigation,
 an investigative file that Landreth had maintained since he began his reinvestigation
 (“2021 reinvestigation file”), and a “draft” report that he started in July 2021. JS, Ex.
 10, Landreth Dep., Dkt. 96-10 at 85:1–96:4. Counsel for Defendants promised to
 produce everything except the draft report within twenty-four hours. Id. at 115:2–6.
 Though the production came over several weeks, Defendants eventually produced
 everything except the draft report, which is the only item Plaintiff is still seeking in the
 instant Motion (unless, as Plaintiff suggests, that there are more unidentified
 documents responsive to the RFP Nos. at issue). JS at 13, 17.

          2.      Additional relevant law
        The law enforcement investigatory privilege is based on the idea that public
 disclosure of certain investigatory files could harm law enforcement efforts. See
 Conan v. City of Fontana, No. EDCV 16-1261-KK, 2017 WL 2874623, at *4 (C.D.


 CV-90 (03/15)                          Civil Minutes – General                      Page 5 of 16
Case 2:22-cv-07450-MWF-MAR        Document 99 Filed 02/27/24             Page 6 of 16 Page ID
                                        #:2367
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                     Date: February 27, 2024
 Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

 Cal. July 5, 2017) (citing United States v. Winner, 641 F.2d 825, 831 (10th Cir. 1981)).
 The “Ninth Circuit has not expressly recognized the law enforcement [investigative]
 privilege,” though “several courts within this circuit have acknowledged and applied
 it” in unreported opinions. Lien v. City of San Diego, No. 21-cv-224-MMA (WVG),
 2022 WL 134896, at *2 (S.D. Cal. Jan. 14, 2022) (citations omitted).
        To the extent the privilege does exist, the party claiming the privilege has the
 burden to establish its existence. Conan, 2017 WL 2874623, at *4 (citing Friedman v.
 Bache Hasley Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C. Cir. 1984)). In order to
 assert the law enforcement investigatory privilege, the party asserting the privilege
 must make a substantial threshold showing by meeting the following elements: “(1)
 asserting a formal claim of privilege by the head of the department with control over
 the requested information; (2) the assertion of the privilege must be based on personal
 consideration by that official; and (3) the information for which the privilege is
 claimed must be specified with an explanation as to why it falls within the scope of
 the privilege.” Bradley v. Cnty. of San Joaquin, No. 2:17-cv-02313 KJM AC, 2018
 WL 4502481, at *5 (E.D. Cal. Sept. 20, 2018) (citations omitted); see also U.S. ex rel
 Burroughs v. DeNardi Corp., 167 F.R.D. 680, 687 (S.D. Cal. 1996).
         Furthermore, when a party asserts privilege, Fed. R. of Civ. P. 26(b)(5) (“Rule
 26(b)(5)”) requires that the party “expressly make the claim” and “describe the nature
 of the documents, communications, or tangible things not produced or disclosed—
 and do so in a manner that, without revealing information itself privileged or
 protected, will enable other parties to assess the claim[;]” parties often comply with
 this rule by providing a privilege log. Failure to provide a timely privilege log may
 result in deeming the privilege waived. See Burlington N. & Santa Fe Ry. Co. v. U.S.
 Dist. Ct. for Dist. of Mont., 408 F.3d 1142, 1147 (9th Cir. 2005) (holding “[n]either
 the rules nor a binding judicial authority” contradicted the proposition “that the effect
 of untimeliness in properly asserting the privilege is to waive or otherwise abandon
 the privilege”).
       However, the Ninth Circuit has rejected a bright line rule for when a privilege
 has been waived for untimeliness. Id. at 1149. A district court in the Eastern District
 summarized the Ninth Circuit’s holding in Burlington as follows:




 CV-90 (03/15)                        Civil Minutes – General                      Page 6 of 16
Case 2:22-cv-07450-MWF-MAR        Document 99 Filed 02/27/24             Page 7 of 16 Page ID
                                        #:2368
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                      Date: February 27, 2024
 Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

          The court reviewed Federal Rule of Civil Procedure 26(b)(5), which
          requires a responding party to expressly make a claim of privilege and
          describe the documents covered by the privilege, in conjunction with
          Federal Rule of Civil Procedure 34, which requires that written responses
          to discovery requests be served within thirty days of service of the request.
          The court rejected a bright line test for waiver of the privilege, opting
          instead for a “holistic reasonableness test.” The court held “boilerplate
          objections or blanket refusals” are insufficient to assert a privilege, but
          also characterized the thirty-day period as a default guideline, not a per se
          time bar, to consider case by case, taking into account the following
          factors:

                 [1] the degree to which the objection or assertion of privilege
                 enables the litigant seeking discovery and the court to
                 evaluate whether each of the withheld documents is
                 privileged (where providing particulars typically contained in
                 a privilege log is presumptively sufficient and boilerplate
                 objections are presumptively insufficient);

                 [2] the timeliness of the objection and accompanying
                 information about the withheld documents (where service
                 within 30 days, as a default guideline, is sufficient);

                 [3] the magnitude of the document production; and
                 [4] other particular circumstances of the litigation that make
                 responding to discovery unusually easy (such as, here, the
                 fact that many of the same documents were the subject of
                 discovery in an earlier action) or unusually hard.
 Wormuth v. Lammersville Union Sch. Dist., No. 2:15-CV-01572-KJM-EFB, 2017
 WL 2505195, at *2–3 (E.D. Cal. June 9, 2017) (citations omitted). Notably, the
 Burlington court noted that a significant delay in providing a privilege log could alone
 warrant a finding of waiver, even under the holistic standard. See Burlington, 408
 F.3d at 1149 (finding that “in the absence of mitigating considerations,” the fact that
 privilege log was five months after discovery requested would alone warrant a finding

 CV-90 (03/15)                         Civil Minutes – General                      Page 7 of 16
Case 2:22-cv-07450-MWF-MAR          Document 99 Filed 02/27/24             Page 8 of 16 Page ID
                                          #:2369
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                       Date: February 27, 2024
 Title:        Alexander Torres v. Los Angeles Sheriffs Department et al

 that party had waived privilege objections, even under holistic standard considering
 multiple factors).

          3.      Analysis

                  a.     The assertion of the law enforcement investigatory privilege
                         appears untimely

        Here, Defendants appear to invoke the law enforcement investigatory privilege
 with respect to Detective Landreth’s “draft” report from July 2021. There is an
 argument that Defendants have waived their right to assert this privilege, given that it
 has nearly been two years since Plaintiff first propounded the relevant RFPs and
 Defendants have yet to produce a privilege log or something equivalent to satisfy their
 obligations under Rule 26(b)(5). Indeed, despite Plaintiff’s several documented
 requests for a privilege log, Defendants wholly failed to even identify the report as an
 allegedly privileged document—its existence was only revealed to Plaintiff at
 Detective Landreth’s deposition in January 2024.

        To be sure, the Court notes that Defendants’ communications could be
 construed to have consistently asserted the law enforcement investigatory privilege
 generally with respect to all documents related to the reinvestigation of the Guitron
 murder. As Defendants note, Plaintiff’s counsel’s June 6, 2023 Letter indicates that
 Plaintiff’s counsel understood that Defendants were asserting a privilege with respect
 to the materials from the open reinvestigation of the murder. JS, Ex. 5, June 6, 2023
 Letter, Dkt. 96-5 at 6. However, Plaintiff’s counsel did not concede the materials
 would be privileged, and noted that any compromise regarding the reinvestigation
 materials would begin with the initial step of “identifying what documents are held by
 the LASD relating to Martin Guitron’s murder and following [Plaintiff’s] conviction.”
 Id. Six days later, Plaintiff’s counsel reiterated that “any privilege asserted with
 respect to the reinvestigation materials must be set forth in a privilege log.” JS, Ex. 6,
 June 29, 2023 Letter, Dkt. 96-6 at 3. Still, Defendants point to no evidence that they
 made any effort in comply with their obligations under Rule 26(b)(5) to identify and
 describe these allegedly privileged documents. Importantly, as noted above, the
 contents of the allegedly privileged 2021 reinvestigation file were not revealed to
 Plaintiff until Landreth referenced them during his deposition in January 2024.


 CV-90 (03/15)                          Civil Minutes – General                      Page 8 of 16
Case 2:22-cv-07450-MWF-MAR        Document 99 Filed 02/27/24             Page 9 of 16 Page ID
                                        #:2370
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-07450-MWF-MAR                                     Date: February 27, 2024
 Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

        Ultimately, whether as to the draft report or to the 2021 reinvestigation
 materials generally, the Court is inclined to find that Defendants’ total failure to
 specifically identify the documents and explain the basis for their privilege for nearly
 two years justifies a finding of waiver, even under the holistic standard set forth in
 Burlington. However, the Court need not deny Defendants’ assertion of privilege on
 this basis, because they have failed to make the requisite threshold showing to show
 they would be entitled to the privilege.

                 b.    Defendants have failed to make the threshold showing of
                       entitlement to the investigatory privilege

         Even assuming Defendants’ present assertion of the law enforcement
 investigatory privilege could be deemed timely and valid, and that such a privilege
 exists in the Ninth Circuit, Defendants have failed to make the threshold showing
 required to assert the privilege. Defendants have not submitted a declaration from
 the department head in control of the documents making a formal claim of privilege.
 Defendants submit only the declarations of Detective Landreth and Deputy Sheriff
 Luz Beas, a “Civil Litigation Investigator at the Risk Management Bureau”—neither
 of whom purport to be in formal control of the documents at issue See generally, JS,
 Ex. 16, Declaration of Deputy Sheriff Luz Beas (“Beas Decl.”), Dkt. 96-16; JS, Ex. 17,
 Declaration of Detective Matthew Landreth (“Landreth Decl.”), Dkt. 96-17.

        Furthermore, even assuming either Beas or Landreth could be construed to be
 a “department head with control over the requested information,” neither Beas’s nor
 Landreth’s declaration reflect “personal consideration” of the privilege; indeed,
 neither declaration provides any justification for the privilege at all. In fact, both
 declarations appear to admit that the only reason the 2021 reinvestigation file and
 related materials were not produced originally is because they were advised by counsel
 that the materials were not subject to disclosure. See JS, Ex. 16, Beas Decl., Dkt. 96-
 16, ¶ 7 (“On May 17, 2023, I was advised by defense counsel that…pursuant to
 Plaintiff’s counsel’s agreement…the 2021 Open Investigation of the Guitron Murder
 was not subject to disclosure.”); JS, Ex. 17, Landreth Decl., Dkt. 96-17, ¶ 5 (“On May
 3, 2023…I was advised that the documents, records, and files related to the 2021
 Guitron murder open and ongoing investigation were not subject to disclosure.”).



 CV-90 (03/15)                        Civil Minutes – General                      Page 9 of 16
Case 2:22-cv-07450-MWF-MAR           Document 99 Filed 02/27/24                 Page 10 of 16 Page ID
                                           #:2371
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No. 2:22-cv-07450-MWF-MAR                                             Date: February 27, 2024
  Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

          To the extent Defendants’ counsel contends that Plaintiff’s counsel agreed that
  the 2021 reinvestigation file was not subject to disclosure, this is not reflected in the
  communications provided to the Court. As discussed above, the meet and confer
  letters reflect that any compromise regarding the reinvestigation materials would begin
  with Defendants’ identification of the documents and production of a privilege log,
  which Defendants failed to do. In any case, even now, neither Beas nor Landreth’s
  declaration appear to actually assert or provide a basis for the law enforcement
  investigatory privilege; in fact, both declarations suggest that Beas and Landreth have
  never asserted the privilege and have only withheld the reinvestigation materials at the
  behest of counsel. Accordingly, these declarations are insufficient to meet
  Defendants’ burden to make the requisite threshold showing of entitlement to the law
  enforcement investigatory privilege.

                  c.      Conclusion

         Ultimately, Defendant’s assertion of the law enforcement investigatory privilege
  with respect to the reinvestigation materials fails, either because it is untimely or
  because Defendants have failed to meet the requisite threshold burden to demonstrate
  an entitlement to the privilege. Therefore, Defendants must produce the draft report.
  Defendants should also specifically identify any remaining documents related to the
  investigation and reinvestigation that have yet to be produced. 1

         If Defendants maintain that no further responsive documents exist,
  Defendants’ counsel and/or the relevant custodians of records shall submit sworn
  declarations stating as much; the declarations should also explain their search in detail,

  1
   Though Defendants offhandedly assert that documents related to the reinvestigation are irrelevant
  or disproportionate to Plaintiff’s claims, they do not provide any substantive argument on this point.
  Furthermore, as noted above, Defendants represent that they already produced everything in the
  2021 reinvestigation file other than the allegedly privileged draft report, and thus do not appear to be
  standing on their relevance or proportionality objections at this time. In any case, the Court finds
  that, considering the broad definition of relevancy contemplated by Rule 26, Plaintiff has sufficiently
  shown that the reinvestigation materials could be relevant to defending against Defendants’ attempts
  to cast aspersions on Plaintiff’s innocence as part of a potential defense to Plaintiff’s claims. To the
  extent Defendants contest the relevancy of these materials or otherwise argue the requested
  discovery is unduly burdensome or disproportionate, Defendants have not met their burden to show
  the discovery should be disallowed. See United States ex rel. Poehling, 2018 WL 8459926, at *9.


  CV-90 (03/15)                            Civil Minutes – General                            Page 10 of 16
Case 2:22-cv-07450-MWF-MAR         Document 99 Filed 02/27/24             Page 11 of 16 Page ID
                                         #:2372
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 2:22-cv-07450-MWF-MAR                                     Date: February 27, 2024
  Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

  including, but not limited to, all sources searched and all search parameters
  used. See In re Facebook Privacy Litigation, No. 5:10-cv-02389-RMW, 2015 WL
  3640518, at *2 (N.D. Cal. June 11, 2015) (ordering party to submit a declaration
  explaining her search for responsive documents in detail). Once Defendants have
  either produced the remaining documents or the declarations described above, the
  Court is unlikely to grant any relief in response to further motions to compel on these
  items. If Defendants’ sworn assertions that “no responsive documents exist” prove
  to be false, there are other remedies available; for example, Plaintiff may impeach the
  defending party at trial, or seek sanctions for any alleged spoliation.

         If Defendants maintain that other documents are privileged, Defendants
  should also produce a privilege log concurrently with any production. While the
  Court does not currently find that any asserted privileges would be deemed waived,
  the Court may so find if privilege disputes come before this Court again; in any case,
  the losing party on any subsequent discovery will be subject to sanctions in the form
  of reasonable costs and fees.

         Finally, though the Court has found that Defendants have either waived the
  privilege or failed to make the requisite substantial threshold showing and thus need
  not rule on the substantive issue of whether the privilege should apply, the Court
  notes two critical facts that mitigate any potential harm caused by the production of
  the reinvestigation materials. First, and importantly, there is a protective order already
  in place in this case. Dkt. 63. The chief concern of the law enforcement investigation
  privilege is that public disclosure of certain investigatory files could harm law
  enforcement efforts. See Conan, 2017 WL 2874623, at *4. Concerns due to potential
  public disclosure are significantly mitigated when there is a protective order in place,
  and Defendants have not explained why the protective order in this case is insufficient
  to protect against the fear of public disclosure. See id. at *5 (noting that “Defendants
  outline the potential harm of disclosure to the public, but do not explain how
  disclosure subject to a protective order would create a substantial risk of harm to
  these governmental interests…”); see also Kelly v. City of San Jose, 114 F.R.D. 653,
  662 (N.D. Cal. 1987) (“[I]t is important to emphasize that in many situations what
  would pose the threat to law enforcement interests is disclosure to the public
  generally, not simply to an individual litigant and/or her lawyer.”); Dkt. 63 (stipulated
  protective order).


  CV-90 (03/15)                        Civil Minutes – General                      Page 11 of 16
Case 2:22-cv-07450-MWF-MAR         Document 99 Filed 02/27/24             Page 12 of 16 Page ID
                                         #:2373
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 2:22-cv-07450-MWF-MAR                                     Date: February 27, 2024
  Title:      Alexander Torres v. Los Angeles Sheriffs Department et al


          Second, the Court notes that it is unclear whether the reinvestigation of the
  Guitron murder qualifies as an “ongoing” investigation such that it might be
  functionally imperiled by the production of documents in this case. “The purpose of
  the law enforcement investigative privilege is to ‘minimize disclosure of documents
  whose revelation might [actually] impair the necessary functioning ... of law
  enforcement,’ 12 Fed. Proc., L. Ed. § 33:305, not to shield local police departments
  from any discovery request they might find inconvenient or uncomfortable.”
  Hereford v. City of Hemet, No. 5:22-CV-00394-JWH (SHK), 2023 WL 6813740, at
  *17 (C.D. Cal. Sept. 14, 2023). Accordingly, when law enforcement does not provide
  an anticipated end date to pending investigations, courts are reluctant to allow the
  “indefinite assertion of the ongoing investigation privilege” because it can
  “unreasonably delay[ ] the progress of th[e] [civil] case and frustrat[e] the interests of
  justice.” Hereford, 2023 WL 6813740, at *17 (citing Bradley, 2-18 WL 4502481, at
  *6). Here, as Plaintiff notes, Landreth wrote the draft report in 2021 and has testified
  that he has taken no steps in his investigation since December 2021. JS, Ex. 10,
  Landreth Dep., Dkt. 96-10, at 118:22–119:12. Given that the investigation has been
  stale for over two years and Defendants have not indicated an anticipated end date to
  the “ongoing” investigation, it is unclear how disclosure of the reinvestigation files
  will functionally impede law enforcement functioning. Defendants cannot simply
  expect to enjoy the indefinite protection of the law enforcement investigatory
  privilege.

         Nonetheless, to the extent the draft report or any other documents related to
  the reinvestigation contain specific sensitive identifying information (such as the
  identity of undercover agents, addresses, etc.), Defendants may appropriately apply
  careful redactions. The Court notes that redaction should be limited to sensitive
  information and should not be used to omit information Defendants simply deem
  irrelevant. See United States v. McGraw-Hill Companies, Inc., No. CV 13-0779-DOC
  JCGX, 2014 WL 8662657, at *4 (C.D. Cal. Sept. 25, 2014) (“[U]nilateral redactions are
  inappropriate if they seek not to protect sensitive or protected information, but
  merely to keep non-responsive information out of an adversary’s hands.”).
  ///
  ///
  ///


  CV-90 (03/15)                        Civil Minutes – General                      Page 12 of 16
Case 2:22-cv-07450-MWF-MAR              Document 99 Filed 02/27/24             Page 13 of 16 Page ID
                                              #:2374
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

  Case No. 2:22-cv-07450-MWF-MAR                                          Date: February 27, 2024
  Title:           Alexander Torres v. Los Angeles Sheriffs Department et al

  B.       SANCTIONS

           1.         Applicable law

           Rule 37(c)(1) provides that:

           If a party fails to provide information or identify a witness as required by
           Rule 26(a) or (e), the party is not allowed to use that information or
           witness to supply evidence on a motion, at a hearing, or at a trial, unless
           the failure was substantially justified or is harmless. In addition to or
           instead of this sanction, the court, on motion and after giving an
           opportunity to be heard:

                      (A)    may order payment of the reasonable expenses, including
                             attorney’s fees, caused by the failure;
                      (B)    may inform the jury of the party’s failure; and
                      (C)    may impose other appropriate sanctions, including any of
                             the orders listed in Rule 37(b)(2)(A)(i)-(vi).
  Fed. R. Civ. P. 37(c)(1).

           Furthermore, Rule 37(a)(5)(A) provides that, if a motion to compel is granted:

           the court must, after giving an opportunity to be heard, require the party
           or deponent whose conduct necessitated the motion, the party or attorney
           advising that conduct, or both to pay the movant’s reasonable expenses
           incurred in making the motion, including attorney’s fees. But the court
           must not order this payment if:
           (i)        the movant filed the motion before attempting in good faith to
                      obtain the disclosure or discovery without court action;
           (ii)       the opposing party’s nondisclosure, response, or objection was
                      substantially justified; or
           (iii)      other circumstances make an award of expenses unjust.


  CV-90 (03/15)                             Civil Minutes – General                      Page 13 of 16
Case 2:22-cv-07450-MWF-MAR            Document 99 Filed 02/27/24             Page 14 of 16 Page ID
                                            #:2375
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No. 2:22-cv-07450-MWF-MAR                                        Date: February 27, 2024
  Title:         Alexander Torres v. Los Angeles Sheriffs Department et al


  Fed. R. Civ. P. 37(a)(5)(A).

           2.       Analysis

         Here, Plaintiff argues that Defendants have, on at least two occasions,
  intentionally withheld responsive documents, and asks this Court to order the
  following sanctions:

           (1)      An adverse jury instruction that the 2001 investigative filed was willfully
                    withheld from Plaintiff until June 2023 and that the 2021 reinvestigation
                    was willfully withheld from Plaintiff until February 3, 2024 or whatever
                    date it is fully produced; and
           (2)      The County and LASD will pay all Plaintiff’s attorney’s fees and costs
                    for this motion, for the parties’ discovery correspondence and
                    conferences addressing these issues, and for the time spent preparing for
                    and conducting Landreth’s January 23, 2024 deposition and any
                    subsequent deposition.

  JS, Dkt. 96 at 23.

          As an initial matter, this Court does not have the authority to order the district
  judge to adopt adverse jury instructions and may only recommend such evidentiary
  sanctions. RG Abrams Ins. v. L. Offs. of C.R. Abrams, 342 F.R.D. 461, 493 (C.D.
  Cal. 2022) (noting that “[a] Magistrate Judge may recommend [evidentiary] sanctions
  by report and recommendation to the District Judge presiding over the case.”). In
  any case, the Court does not find that a recommendation of adverse jury instructions
  is currently warranted here, primarily because Plaintiff has not demonstrated prejudice
  from Defendants’ failure to disclose. After this order, Plaintiffs should have all the
  files related to the investigation and reinvestigation of the Guitron murder well in
  advance of trial and dispositive motion practice. Thus, it appears that Defendants’
  failure to timely produce the files will likely be harmless.

         Furthermore, though it is not necessarily required for Plaintiff to demonstrate
  bad faith to obtain his requested sanctions, it is not clear that the files were “willfully”

  CV-90 (03/15)                           Civil Minutes – General                      Page 14 of 16
Case 2:22-cv-07450-MWF-MAR         Document 99 Filed 02/27/24             Page 15 of 16 Page ID
                                         #:2376
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 2:22-cv-07450-MWF-MAR                                     Date: February 27, 2024
  Title:      Alexander Torres v. Los Angeles Sheriffs Department et al

  withheld in the sense that Plaintiff’s proposed jury instruction appears to contemplate.
  Defendants argue that they only withheld documents based on good-faith objections,
  and that any failure to timely disclose or supplement the investigation files was due to
  a combination of inadvertent delays due to search efforts, ongoing good-faith
  discovery discussions, and technical difficulties in transmitting the files. JS, Ex. 18,
  Samson Decl., Dkt. 96-18, ¶ 14. While Defendants’ assertion of privilege may have
  ultimately been fruitless, and while Defendants may have demonstrated some degree
  of negligence or poor communication in collecting, identifying, and producing
  discovery, the Court cannot find that they willfully withheld documents in bad faith.
  Indeed, the numerous letters and emails submitted as exhibits to the JS demonstrate
  that the parties have been continuously engaging in good faith meet and conferring on
  this issue for several months.

         Ultimately, considering that any failure to disclose the investigation files
  appears harmless at this juncture, the Court declines to recommend that the district
  court adopt evidentiary sanctions. Furthermore, considering that the Defendants do
  not appear to have acted in bad faith, the Court declines to order the full gamut of
  monetary sanctions that Plaintiff requests.

         The Court will, however, require that Defendants pay the reasonable costs and
  fees incurred in bringing this motion pursuant to Rule 37. The exhibits to the JS
  show that Plaintiff engaged in multiple good faith attempts to obtain the requested
  discovery without court intervention. Furthermore, while Defendants’ initial assertion
  of privilege may have been substantially justified, the Court cannot find that their
  current position is substantially justified given their gross delay in identifying the
  allegedly privileged documents and providing a privilege log. Finally, the Court does
  not find that any other reason makes an award of costs and fees unjust. Accordingly,
  Defendants and their counsel, jointly and severally, will be liable for the reasonable
  costs and fees incurred in bringing this motion.
  ///
  ///
  ///
  ///
  ///



  CV-90 (03/15)                        Civil Minutes – General                      Page 15 of 16
Case 2:22-cv-07450-MWF-MAR           Document 99 Filed 02/27/24                Page 16 of 16 Page ID
                                           #:2377
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:22-cv-07450-MWF-MAR                                            Date: February 27, 2024
  Title:        Alexander Torres v. Los Angeles Sheriffs Department et al

                                               III.
                                              ORDER

           IT IS THEREFORE ORDERED that:

           1)      Plaintiff’s motion to compel is GRANTED;
           2)      Within seven days of this order, Defendants must produce the draft
                   report and any remaining documents related to the investigation and
                   reinvestigation of the Guitron murder. If Defendants maintain that no
                   further responsive documents exist, Defendants’ counsel and/or the
                   relevant custodians of records shall submit sworn declarations as
                   described above. Any allegedly privileged documents should be
                   identified in a privilege log provided concurrently with the production or
                   declarations. Defendants may carefully redact any sensitive identifying
                   information;
           3)      Plaintiff’s motion for evidentiary sanctions is DENIED;
           4)      Plaintiff’s motion for monetary sanctions is GRANTED in part and
                   DENIED in part. Defendants and their counsel shall pay, jointly and
                   severally, Plaintiff’s reasonable costs and fees in bringing this motion.
                   Plaintiff shall submit his declaration regarding expenses within seven
                   days of this order. Defendant may file objections to Plaintiff’s
                   declaration within seven (7) days of the filing of Plaintiff’s
                   declaration;
           5)      The request to appear remotely, Dkt. 97, is DENIED as moot.

  IT IS SO ORDERED.
                                                                                                :
                                                                   Initials of Preparer         vv




  CV-90 (03/15)                          Civil Minutes – General                           Page 16 of 16
